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     Attorneys for Plaintiff
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8                                   UNITED STATES DISTRICT COURT
9                                  NORTHERN DISTRICT OF CALIFORNIA

10
     PATRICIA JONES,                                 Case No.: 3:16-cv-05686-JST
11
                      Plaintiff,
12
          v.                                         STIPULATION FOR DISMISSAL OF
13                                                   DEFENDANT EQUIFAX, INC.;
                                                     [PROPOSED] ORDER
14
     EXPERIAN INFORMATION SOLUTIONS,
15
     INC., et al,

16                    Defendants.

17

18

19             TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20             IT IS HEREBY STIPULATED by and between plaintiff Patricia Jones and defendant
21   Equifax, Inc. that Equifax, Inc. be dismissed from this action with prejudice pursuant to
22   Federal Rules of Civil Procedure, Rule 41(a)(2), and that each party shall bear its own
23   attorneys’ fees and costs.
24   //
25   //
26   //
27   //
28   //


               STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -1-
               Case 3:16-cv-05686-JST Document 69 Filed 05/22/17 Page 2 of 2



     DATED: May 19, 2017                                   Sagaria Law, P.C.
1
                                                    By:    /s/ Elliot Gale
2                                                          Elliot Gale
3
                                                           Attorney for Plaintiff Patricia Jones

4

5
     DATED: May 19, 2017                                   Nokes & Quinn, APC
6
                                                    By:     /s/ Thomas P. Quinn, Jr.
7                                                          Thomas P. Quinn, Jr.
                                                           Attorney for Defendant Experian
8
                                                           Information Solutions, Inc.
9

10
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
11
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
12

13
     /s/ Elliot Gale
14

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16
                                          [PROPOSED] ORDER
17
             Pursuant to the stipulation of the Parties, Equifax, Inc. is dismissed with prejudice.
18
             IT IS SO ORDERED.
19

20

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22
     DATED:            May 22, 2017
23                                                         Hon. Jon S. Tigar
                                                           UNITED STATES DISTRICT JUDGE
24

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            STIPULATION FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER -2-
